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          Case     4:15-cv-00193-BSM Document 23          07/14/15 Page 1 of 1



                                      IN THE UNITED STATES DISTRICT COURT
                                         EASTERN DISTRICT OF ARKANSAS
                                                LITTLE ROCK DIVTSION

 ARTHUR CARSON
                                                                                             PLAINTIFF

 v5,                                  CASE   N0. 4:L5-cv.00193 (BsM)

JODIE SUMLIN, COLONIAL PARC
ePt, and APPFOLIO tNc.                                                                     DEFENDANTS

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        The parties having agreed upon a settlement which disposes of all issues which were
                                                                                            or
could have been raised in this Iitigation, it is hereby stipulated pursuant to F-R.C.p.
                                                                                                  +1-   by all of

the parties to this litigation that this matter may be disrnissed with prejudice and without costs

to any party.

        This stipulation can be executed in counterparts.




Affhur Carson                                         toht'ff.    Buzbee (Ark.
Pro 5e Plaintlff
823.5 Spanish Road                                     1O2OL  W. Markham, Suite 108
Little Rock, Arkansas 72209                           Little Rock, Arkansas TZZO|
54L.24O.3437 Te    I   e   ph o n e                   Attorney for Defendants
                                                      501.376.3600 Telephone
                                                      ich   n@n   ixqn ancll ight. co nl
